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UNITED sTATEs DISTRICT COURT auto s\,/_s________s..____o.c.
WESTERN DISTRICT OF TENNESSEE
Eastern Division 05 JUL 22 PH 113 28

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UNITED STATES OF AMERICA W[D 1013 m JACKSON
-vs- Case No. ]:05cr10038-001T
THOMAS ROSS PIERCE

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
TUESDAY, JULY 26, 2005 at 3:15 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal Building, l l l
South Highland, Jackson, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.

Date: .luly 22, 2005
gm faa

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

'Ii` not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion ol“ the government or up to t'lve days upon motion of the defendant 18 U.S.C. § 3142(£)(2).'

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142({) are present Subseetion (l) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion oi"the attorney for the government or upon the judicial oft`icer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attemptto threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BIBS) Order olTemporary Detention

 

DISTRIC COURT - WESTERN D"'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 1:05-CR-10038 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

